
WELLS, C.J.
We have for review Castillega v. State, 739 So.2d 666 (Fla. 5th DCA 1999), a decision of the Fifth District Court of Appeal quashing a lower court’s order on the authority of its opinion in Norris v. State, 737 So.2d 1240 (Fla. 5th DCA 1999). We have jurisdiction. Art. V, § 3(b)(3), Fla. Const.; Jollie v. State, 405 So.2d 418, 420 (Fla.1981).
Recently we approved the Fifth District’s decision to quash the administrative order under review. See State v. Norris, 768 So.2d 1070 (Fla.2000). For the reasons, we expressed in Norris, we approve the decision under review.
It is so ordered.
SHAW, HARDING, ANSTEAD, PARIENTE, LEWIS and QUINCE, JJ., concur.
